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HENRY CARLISLE,
Plaintifl`,
Vs. No. 04-3017 ML P
UNITED PARCEL snnvlcs, INC. and
GEoRGE wELCH,
Defendants.

 

ORDER GRAN'I`ING LEAVE TO WITHDRAW

 

The Court, being advised that Plaintiff, Henry Carlisle, has relieved J ames E. Blount, III
and Mark Ledbetter from any obligation or responsibility in representing him in the above-styled
and numbered matter, and upon their said Motion to Withdraw, and the court being advised that
there is no opposition to said Motion, finds that said Motion is well taken and should be granted

IT IS, THEREFORE, ORDERED ADJUDGED AND DECREED that James E.
Blount, III and Mark Ledbetter be and are hereby relieved from timber obligation or
responsibility in the representation of Henry Carlisle from this date forward, for all purposes; that

Plaintif’c` is advised to and is free to retain new counsel forthwith

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with sale 58 and/or rs(a) FHCP on §'(Qj Q") / 5 /

 

       

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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:04-CV-03017 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

